               Case 1:20-cr-00098-DKC Document 1 Filed 03/11/20 Page 1 of 5

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                IN THE UNITED STATES DISTRIJtlZ~           PM 3:               tRy             44
                    FOR THE DISTRICT OF MARYL~P.i,     'S OFF,[F
                                                 AT fJALT'~Wi\C
 UNITED STATES OF AMERICA           *                                 i3,(__    ~_     OE~UTY
                                                        *
          v.                                            *      CRIMINAL        NO~JJf)C-o<t&        o9C?
                                                        *
 IVO LOUVADO,                                           *      (False Statement to Federal Law
                                                        *      Enforcement, 18 U.S.c. ~ 1001(a)(2»
                      Defendant.                        *
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                                                        *
                                                    ******
                                              INFORMATION

          The United States Attorney for the District of Maryland charges that:

                                              COUNT ONE
                             (False Statement to Federal Law Enforcement)

                                                Introduction

     1. The Baltimore Police Department CBPD") is an agency of the State of Maryland whose

          law enforcement jurisdiction includes Maryland's largest city, Baltimore.

    2. Sworn members of the BPD must abide by the Law Enforcement Officer's Code of

          Ethics, which provides, in pertinent part:

                    As a Law Enforcement Officer, my fundamental duty is to serve the
                    community; to safeguard lives and property; to protect the innocent
                    against deception, the weak against oppression or intimidation; the
                    peaceful against violence or disorder; and to respect the
                    constitutional rights of all to liberty, equality and justice. Honest in
                    thought and deed both in my personal and official life, I will be
                    exemplary in obeying the law and the regulations of my department
                    ... I recognize the badge of my office as a symbol of public faith
                    and I accept it as a public trust to be held so long as I am true to the
                    ethics of police service.
      Case 1:20-cr-00098-DKC Document 1 Filed 03/11/20 Page 2 of 5



3. IVa LOUVADO ("LOUVADO") joined the EPD on November 21, 1999. LOUVADO

   was promoted to Detective in 2008.

4. [n February 2009, LOUVADO was serving on a squad with W.J., C.J., P.G., K.G., and

   V.R. that was supervised by W.K.




       The Seizure of More Than 41 Kilograms of Cocaine in Februarv 2009

5. Prior to February 19,2009, W.J. and C.G. told LOUVADO that they had received

   information from a confidential informant about a large-scale narcotics trafficker

   operating out of a residence on the 1400 block of Ellamont Street, in Baltimore,

   Maryland.

6. On February 19,2009, LOUVADO, and other members of the squad were conducting

   surveillance in the 1400 block of Ellamont Street targeting an individual whose initials

   are T.M. Other officers participating in the law enforcement action followed a car from

   that residence. Those officers claimed to have recovered trash that contained cocaine

   residue that had been thrown from the car they had followed. LOUV ADO and other

   officers then responded to the residence that the man was allegedly observed leaving and

   made entry. LOUVADO and other officers remained in the house until W.J. and C.J.

   obtained a search warrant from a Baltimore City District Court judge.

7. LOUVADO ultimately participated in the search of the residence and took photographs

   of items that EPD seized. At some point, LOUV ADO was alerted to the presence of a

   jacket hanging behind a door that contained a large amount of cash in it, which

   LOUV ADO photographed.




                                           -2-
      Case 1:20-cr-00098-DKC Document 1 Filed 03/11/20 Page 3 of 5



8. While in the house, officers found car keys, including a key that had the ability to activate

   an alann in a vehicle remotely. A BPD officer activated the alarm and officers heard the

   alam1 sound in a pickup truck that was parked nearby. LOUVADO had never seen the

   truck before the alarm was activated and had no knowledge of its existence until this

   time.

9. LOUVADO and other officers went to the pickup. The back of the pickup truck had an

   opaque cover over it that could be locked. The cover was opened and in the back of the

   pickup truck, under construction debris, a significant quantity of cocaine was found.

   LOUVADO and other officers waited with the cocaine until a SWAT team arrived. The

   SWAT team was called to provide protection during the transportation of the cocaine to

   BPD headquarters because it was such a large quantity. In order to transport the cocaine

   from the scene to BPD headquarters, it was loaded into a BPD surveillance van driven by

   K.G.

10. After the cocaine was loaded into the surveillance van, LOUV ADO followed the SWAT

   team to BPD headquarters to maintain chain-of-custody over the cocaine.

II. Forty-one (41) kilograms of cocaine was turned into thc BPD's Evidence Control Unit on

   February 20, 2009.

12. Later that day, a criminal complaint was tiled in the United States District Court for the

   District of Maryland charging T.M. with possessing with intent to distribute five or more

   kilograms of cocaine.




                                            -3-
      Case 1:20-cr-00098-DKC Document 1 Filed 03/11/20 Page 4 of 5



      The Sale of Three Kilograms of Cocaine frol11 the Febmarv        2009 Seizure

13. Subsequent to the seizurc, LOUVAOO, K.G. and V.R. discovered 3 additional kilograms

   of cocaine in the surveillance van that had been uscd to transport the 41 kilograms that

   were turned in to BPO. Thcse kilograms of cocainc had comc from thc seizure from

   T.M. 's pickup truck on Fcbruary 19 and 20, 2009, but had not be turned into thc BI'O on

   February 20, 2009.

14. Rathcr than turn this cocaine into BPO, LOUVAOO, K.G. and V.R. agreed to scll the

   cocainc and split the procccds from its sale.

15. V.R. sold thc cocaine to a confidcntial infomlant of his, V.R.'s, who trafficked in

   cocaine. Thc source procecdcd to sell thc cocaine in Baltimore City. V.R. receivcd thc

   proceeds of the salc from his source and thcn shared them with LOUVAOO and K.G.

   Ultimately, LOUVAOO received $10,000 in drug proceeds from the sale of the cocaine

   seized from T.M.'s pickup truck that had not been turned in to BPO.




 The FBI Interviewed     the Defendant About the Cocaine Seizure in Februarv          2009

16. In January 2010, LOUVAOO became a federal task force officer (TFO) with the Bureau

   of Alcohol, Tobacco, Firearms and Explosives (ATI'). As an ATF TFO, LOUVAOO

   knew it was a crime to provide false information, or to conceal or cover up material facts,

   during voluntary interviews with federal law enforcement.

17. On March 1,2017, seven members of the BPO's Gun Tracc Task Force were arrested on

   fedcral racketeering charges, including W.J. Following the filing of charges, the FBI

   continucd to investigate misconduct by members of the BI'O.




                                           -4 -
            Case 1:20-cr-00098-DKC Document 1 Filed 03/11/20 Page 5 of 5



    18. On May 30, 2018, LOUV ADO agreed to participate in a voluntary interview with an FI3I

        special agent and an FBI task force officer (collectively, "the FBI agents"). The FI3I

        agents questioned LOUVADO about the seizure of cocaine on February 19 and 20, 2009.




                                            The Charge

    19. On or about May 30, 2018, in the District of Maryland, the defendant,

                                         IVO LOUVADO,

        did willfully and knowingly make a materially false, fictitious, and fraudulent statement

        and representation in a matter within the jurisdiction of the executive branch of the

        Government of the United States, by concealing and covering up material facts, namely,

        that he and two other officers had split the proceeds from the sale of three of the

        kilograms of cocaine that had been seized by BPD on February 19 and 20, 2009.

        LOUV ADO knew that the FBI was investigating police corruption and was questioning

        him about the seizures that day in order to determine if police misconduct had occurred.




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Date:   March    1L 2020                      ~'k.~I1)tl-J
                                              Robert K. IIur { {/
                                              United States Attorney




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